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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION



UNITED STATES OF AMERICA,

       Plaintiff(s),

v.                                                       Case No: 8:11-CR-356-T-30EAJ

DERRICK LADELL SPANN,

      Defendant(s).
___________________________________/

                                         ORDER

       THIS CAUSE came on for consideration upon the Report and Recommendation

submitted by Magistrate Judge Elizabeth A. Jenkins (Dkt. #115). The Court notes that neither

party filed written objections to the Report and Recommendation and the time for filing such

objections has elapsed.

       After careful consideration of the Report and Recommendation of the Magistrate

Judge in conjunction with an independent examination of the file, the Court is of the opinion

that the Magistrate Judge's Report and Recommendation should be adopted, confirmed, and

approved in all respects.

       ACCORDINGLY, it is therefore, ORDERED AND ADJUDGED:

       1.     The Report and Recommendation (Dkt. #115) of the Magistrate Judge is

adopted, confirmed, and approved in all respects and is made a part of this order for all


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purposes, including appellate review.

         2.       Defendant's Motion to Suppress Miranda Violation (Dkt. #69) is DENIED.

         DONE and ORDERED in Tampa, Florida on October 18, 2011.




Copies Furnished to:
Counsel/Parties of Record

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